Case 2:17-cV-01077-RSL Document 54 Filed 01/08/18 Page JE of 14

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4. Mr$%m ° s

s oerendanr ' civumion No. 17-»cv-1o7vnsL ,

6 .ieremy Reeves ’ »

7
18 M£Z PRODUCi'iONS, iNC y -

9 (?iaintiff) David Lowe OPposMQii to Fiaintiff (DKT 49), and
10 26(f) conference/jde issues
11 v. y . » ' '
12 v
13 *JEREM¥ REEVES; and
14 Robert Kariuki
15 (Defendants)

16

17

18

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20 Haimihisstamemandhasfu"yignondthecmnum€?z&(t)oonferenmmai

21 November 30”‘ 2017. in order to conceal this and move to manipulate and deceive the court

22 Piaintiffhasfaiseiybaddateddocumemsandhasparadedtheminfrontofthecourt.i

23 provide evidence and prove this in exhibits A1-A3. in Dkt. 49 Exhibit A, plaintiff presents a

24 document/letter dated as November 29"‘ 2017, this is a iie. plaintiff did not create or mail this

25 document untii December 04 2017, he simply back dated it to Novemher 29"' 2017 trying to

26 pretend he met the deadline set by the court and thus conceal his stagnation. Piaintiff claims he

27 sent this letter also by emaii, he sent it to an emaii that isn't even mine (as presented in ceth

28 Al and A3). |'ve never given him this emaii and he knows it's not a form of contact to me, my

29 emaii is on ali my documents and Piaintiff has had discourse through it with me in the past. The
idea that Fiaintiff wouid use an emaii that isn't a point of contact to me (when he has emahed

Opposition to Piaintiff (DKT. 49) ieremy Reeves
17-¢»0107'/ 13305$¢ 19“‘ street vancouver waeasss
360-949-1016»jeremyreeves12@yahoo.com

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` my actual address in the past), then claim to the court he used it to contact me ls eomw at

best. Rather than a stab at comedic relief this alludes to Plalntiffs common trend of
professional negligence and indifference towards the courts time, courts considerations and
any defendant that is not a BAR member.

The court clearly states in Dkt. 43 page 2 that all FCRP/LCR 26(f) discussion shall he
conducted face to face or by telephone "ihis conference shall be by direct and personal
communication, whether that be a face-to»face meeting or a telephonic conference." -~The
Court ( Dkt. 43, Page 2, lines 6»7-).

On top of just fully sklpping 26(f) oonference, Plaintiff waited until the very last possible
moment on December 14"‘ 2017 to call me in order to meet the deadline of the court for joint
status report. Plaintiff waited to call me until the day this document was due *(al‘ter fully
skipping 26(f) conference) in an attempt to manipulate and railroad me, l will not accept and
fall into these traps of manipulation Plaintiff seeks to set upon me. Neither should the court
look past them and thus condone such behavior. Though the F'laintiff did send me entails
demanding me to call him he made no actual attempt to meet the courts joint-status guidelines
himself until the morning of December 14"’ 2017 when he called me the day the joint status
report is due. By this time l have no time to review the Plaintlffs propositions and join in his
status report, already predicting this behavior and attempt at manipulation by the Plaintiffi
already had a status report (compulsorily created solo) ready to submit to the court.

Though the Plaintlff did emall me sending demands i call him, the Plaintiff made no
actual attempt to pick up his phone and call me himself. The Plaintiff presents these entails to

the court as if they are evidence of something or mean anything. Sending emails and placlng a

Opposltion to Piaintiff (DKT. 49) Jeremy iieeves
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360-949-1016 jeremyreeveslz@yahoo.oom

 

 

 

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phone call is not the same thing and the Plaintiff knows this. if the Piaintiff cares so little about
advancing his lawsuit that he can't pick up a phone that is not my fault or problem Piairrtiff

demanding l call through emall is not the same as picking up the phone and placlng'a call to "

7 advance his own lawsuit, as stipulated by the courts scheduling guidelines Advancing the

Plaintiffs lawsuit against me is not my responsibility, it's his. Sending emaiis is not a

replacement for making a phone call. The plaintiff fully skipped 26(0 conference but was able

to place a phone call at the last possible minute on December 14“‘? This is an attempt at

manipulation l‘ve given him my number multiple times and tt‘s provided in every document l
have submitted For Plaintiff to claim l failed to meet deadlines because he can send mails all
day but can’t just pick up his phone is a comical idea at best. Rather than a stab at comadic
relief though, this alludes to the level of professional negligence common from the Plaintlfl‘.
Phoneconversation requiresmorethan hittingoopyandpastoonacomputerashstu'
humanly possible, l suspectthisiswhyi’laintlfflsadverntoplaclngphonecaiis. Mostevery
email except maybe a section of one of them has been a copy and paste job from
Fiaintiff......l‘iaintiff cannot wpy and paste phone calls and therefor seeks not to hawthorn if
at all possible

Piaintiff likes to present an air to the court to make it appear as if l am dodging or

avoiding him, and presents this as some type of indication of my guilt. This is far from true and

is a simple manipulation tactic that the court should be aware of (amongst many others Pla'lnti§

has thrown at me). l have talked to the Plaintiff on the phone, l have no problem/aversion

talking to the Plaintiff on the phone or meeting him in person. l’m not going to talk to him the

Cpposition to Plaintiff (DKT. 49) ' ' Jeremy Reeves
17~cv~01077 ' 13305$¢ 19"' street vancouver wA cases
360-949~1016 jeremyreevestz@yahco.com

 

 

 

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day the paperwork is due though and allow him to try to railroad me with his manipulation f

tactics

 

1. ”... and ali documents referenced herein as true and accurate.” - David Lowe.

l prove in exhibit A1-A3 in this correspondence that this is not true. Plaintiff has `
intentionally back dated documents to falseiy parade in front of the court in attempt to v

manipulate it,

2. “The lSP Com`cast positively identified Defendant jeremy Reeves as the subscriber

responsible for the lP address at the relevant date and time the infringement occurred,..." ~

David Lowe.

The Plaintiff thinks because he used a subpoena to get my name it should mean
something extra to the court, he attempts to make this appear that in and of its self it proves l
am guilty ofa crime *(beceuse hisonlyotheractual evidenceisofan lF number itself,an iP
number even when combined with its associated payee proves absolutely nothin¢). i.wouid
have given this information to the Plaintiff myself, him doing it through subpoena means
nothing extra. Piaintifi‘ attempts to make it appear as if someone peylngto subscribed an lP

addresliseorimelnandofitsself.

3. ”We have independently confirmed that Defendant resides at the residence where iP

address was assigned via use of an investigative database..." “This corresponds to the start of

Opposition to Plaintiff (DK?. 49) ieremy’~iteeves
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” 360~949~1016 jeremyreeveslzmhoo.oom

 

 

 

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observed BitTorrent activity beyond the motion picture title at issue in this case...’ -David

LDWE

So the Plalntiff knows where l live and lt correlates to an lP address, thisis the full ` l
extent of any investigation the Plaintiff has done. This is the full extent Plaintiff has of any
evidence of a'crime, much less of me having committed it *(Plaintiff literally has no evidence).
investigative data base? l could likely pull Plaintiffs address off the internet for free right now 71
from a Google search. if l can't find it for free l could definitely find it for 2 dollars. ls this what ,

Plaintlff calls an investigation and his investigative database?

Plaintiff states he observes activity beyond the motion picture dtle at hand. if lt's
beyond what's at hand then why is Plaintiff bringing it up? i believe Plaintiff is professionally
negligent and have pointed out these situations in multiple documents, multiple times. Does

this mean l can limitlessly peer into Plalntiffs life beyond the issues at hand to hud every other

 

possible way he is professionally negligent? lt’s probable l could lind 100 different outside ways
Plaintiff is professionally negligent then parade that as if it backs up the issues at hand. Can l
peer into Plairrtifis life (and/or its counsel David Lowe) for circumstances beyond the issues at
hand in this case, and then present what ifind to the court? That is exactly what Plaintiff is

attempting to do to me. Why can l not do it back to him? Pialrrtlffs rUtts are no more or less

1 importantthan any defetdantsslmpiybecauseheisamemberofthemmodatien, ~

plaintiff would love to make the court think othen~ise and treat all defendants as such.

Oppositlon to Plaintiff (DKT. 49) v leremy iteeves
17~¢\¢~01077 1ssosse 19"‘ street vancouver wasasss
360»949-1016 ieremyreeveslz@yahoo.oom

 

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4. “Plaintiff provided Defendant with another copy of the courts November 16, 2017 Order

regarding initial Disclosures, joint Status Report..." "it also encouraged Defendant to contact

legal counsel." - David Lowe

. Why would Plairrtiff tell the court he provided me with something the court already

" provided me with, what does this prove? lt's simply a pile of extra garbage to throw into the
~ 'courtslap in attempt to support plaintiffs manipulations Plaintiff holds no respect for the

courts time, considerations, and Honorable ludges.

Why ls Plaintiff so obsessed with me contacting legal counsel? Flaintiff is likely obsessed
with me contacting legal counsel so that l will find continuing through legal counsel too
expensive and rather than opposing Plaintiff l will accept a settlement agreement that Plaintlff

will only Brol<er through them (unless l sign for blanket guilt and a secret agreement before

being handed monetary charges) and thus contribute to the endless greed Flaintiff appeases by a

building a never ending supply ofvictims feeding his pile of loot and booty.

Legal counsel or not, l will never sign a non-disclosure or secretive agreement with

Plaintiff or anyone he claims to represent (llkely a shell company) and thus buy into and support

7 his scam and cache of loot/booty. Pialntiffs claims hold no backing merit, and often lack

situational truth and practical application Why would l need a lawyer to challenge at trial a pile
of faceless allegations? Buying a lawyer and then signing Plaintiffs secretive agreement actually
supports Plaintiffs scam more than it would protect me and future victims.* if Flalhdfls

allmmsmdddmwmndwbasehssthen hewouldn'tbesoobsessedwithmpttin¢

a lawyer to broker a met deal with him. Plaintiff mentions to the court at least S-SX that he

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suggests l get a lawyer. He says it in almost every copy and paste email he sends to me. Frankly
l’m tired of hearing it and l’m tired of dealing with Pialntifis nonsense. As long as he throws

merit-less'hlanket allegations at me though l will he forced to meet and oppose them.

5. Same as before

6. "...Defendant has made no effort to contact Plaintiff’s counsel in order to conduct the

required Rule 26(i) oonference." “'None of the emails are regarding scheduling but rather
consist solely of threats and ad hominem attacks against Plaintlff's counsel." ”Defendant has

likewise failed to provide his initial disclosures." ~ David Lowe

 

wwhy does plaintiff think it is my responsibility to contact him to advance his lawsuit
rather then him contact me? Plaintlff sent me a pile of mostly copied and posted emails
demanding l call him for joint status report (though not for 26(f) conference). Who is Plalntlff to
demand and order what l must do? Can l also issue demands and orders to Plaintiff through
email? Plaintiffs rights are no more or less valuable than any defendants simply hamm he is
a number of the BAR association if Plalntifl wants a phone conversation with me he should
call me himself, not send emails demanding l call hlm, he has no authority over me to demand l
do anything Likewise, if l want to converse on the phone with Plaintiffl will call him, not send
emails demanding he calls me. Every step of this case Plalntiff attempts to make it appear l am

dodglng/avoidlng him and that this alludes to my guilt. Nothing is farther from true, l have

shown in every step l have no aversion to engaging directly with Plaintlff. if Plaintiff would have y

called me l would have engaged with him, plain and simple. Plaintii‘f never called me until

Opposition to Plaintiff (DKT. 49) jeremy Reeves
11-cv~o1077 13305$¢ 19"' street vancouver wAsssas

360-949-1016 jeremyreeveslz@yahoo.oom '

 

 

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December 14"‘ 2017 the day the joint report is due. l am not going to review Plaintiffs
propositions and manipulations last minute in a rush just so Plaintiff can claim he took the
necessary steps to advance his lawsuit l don’t know if the Plaint`rff was attempting to set a trap
for me or if he is just expressing more professional negligenc¢r.»l either way, he failed to meet‘the

courts orders

Plaintiff claims l threatened and ad hominem attacked him. Will the plaintiff specifically

.' . point out what in the emails is true and what is false? Will he specifically point out eveeything in

the emails that is a true statement and what is a threat or ad hominem attacl<? if not then this
claim is mute.and has nothing backing it, much like most ail other claims from Plaintiff. Piaintiff

has ad hominem attacked and threatened me by claiming l would steal his movie and that he ,

_ will get into my pocket for it with no evidence to back his claims

l provided Flaintiff with an initial disclosure, the court also has a copy of this (Dltt. 50}.
By the date and manner l mailed this, Plaintiff should have had it for 2-3 days before making
this statement Plaintiff sent me an initial disclosure and though it was mailed to my name he
wrote the contents land labeled it as thus) for a man named Beniamln lustus , professional
negligence as usual and full indication of his constant (fast as possible) style of copying and
pasting the same things over and over. By the way Plaintiff shipped 26(f) conference without
attempting any contact then mailed me a letter falsely claiming he did, l figured he wouid claim

l never sent initial disclosure thus why l also sent it to the court

7. "... Plaintiff sent another letter ..." ~ David Lowe

Opposition to Plaintifi (OKT. 49) Jeremy heeves
nev-own tsaosse 19"‘ street vancouver wasssas
360~949-1016 ieremyreevestl@yahoo.oom

 

 

 

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Plaintiff can send me a million letters and a million entails demanding/ordering me to
call him to advance his lawsuit in his place. l am open to engaging with the plaintiff bca lwill not
advance Plaintiffs lawsuit for him. Plaintiff thinks demanding (by email or letter) for me to call
him rather than him just calling me himself is a valid excuse as to why he failed to meet 26(f)
conference by Novemher 30th 2017(then back dated a document to claim he did)j as weB as §

waiting to December 14th 2017 to actually call me (the day joint status report is due). l
7.1 "l declare under penalty of perjury that the foregoing is true and correct" - David Lowe

Does this include Piaintiff not meeting 26(f) conference of November 30“‘ then

backdating a document to parade in front of the court to claim he did?

Mlm

Piaintiff David i.owe repeats many of the same arguments he has already presentedto

 

the court on multiple occasions He could take time in his declaration to refute the vast amount
of opposition l have provided to his claims in the past land thus point the court toward a clearer
decision or understanding as to how or why his claims are not merit-less), instead he simply
repeats the same claims over and over again. Besides repeating the same claims over and over
Plaintiff states he emailed/mailed me demanding to call him. Yet he never claims he actually
picked up the phone himself to simply call and meet the courts requirement of a phone or face
to face contact if Plaintiff knocked on my door for conference l would let him in and give him
tea and conference (he presents my address multiple times as hard evidence to the court yet he

continually can’t even get my email right), yet Plaintiff claims l dodge/avoid him simply because

Opposition to plaintiff (DKT. 49) ieremy items
invasion 1ssosse 19”‘ streetvancouve¢ wasasaa
360349-1m6 jeremyreeveslz@yahoo.oom

 

 

Case 2:17-cV-01077-RSL Document 54 Filed 01/08/18 Page 10 of 14

l will not answer his emailed orders/demands Plaintiff thinks that by backdatlng a dominant
and sending entails that he has pushed responsibility for shipping 26(f) conference and joint
status report off of his own shoulders and onto mine. 'l’he Plaintlff has failed to advance his
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lessciaims. '

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Opposltion to Piaintiff (mi'l’. 49) y ieremy heeves
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EXH|B|T A-1

 

 

 

    

  
  
 

    
 
  

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111 jeremy Reeves
13305 SE 19th Sl,
Vancouver, WA 986`83

   

 

PLA|NTIFF SENDS CORRESPONDANC'E ON 04 DEC 2017_, NDT 29 l
NOVEMBER 2017 AS HE PRESENTS TO THE COURT

 

 

 

 

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DATE ACTUALLY SENT
”04 DEC 2017"

 

 

 

 

 

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Case 2:17-cV-01077-RSL Document 54 Filed 01/08/18 Page 13 of 14

Honorab|e Robert S. Lasnik

UN!TED STATES DISTRICT COURT
WESTERN D|STR¥CT OF WASH!NGTON AT SEATTLE

Defendant ` , Clvll Actlon No. 17-£V-10773$L
Jeremy Reeves
Certif€cate of service
l certify that a true and correct copy of the foregoing document has been served to all counsel or parties of
record.
Lowe Graham lanes
701 fifth avenue, suite 4800
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Clerk of the Court
United States District Court for the Westem District of_ Washington
700 Stewart Street
Seattle, WA 98101
{" 3*)0;5
jeremy Reeves
mcs se 19'* s\.
wm WA 9&683
Rep|y/Defense For Mot§on To Dismiss mas-m mm
mwmmmm

Civil Action No. 17-cv-1077RSL

 

 

 

  
  
 

 
  

FROH= (619) 748~8688
Jeremg Reeves

113305 SE ISTH ST
VHNCOUVER NH 98883
§§

T° Clerk of the Court

US Dist Court, Western Dis't of WA
700 Stewart St

Seatt|e WA 98101

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